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                                           #:818



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 7
 8   Attorneys for Defendants
 9
                            UNITED STATES DISTRICT COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA
11
12    DAVID JACOBS,                                 No. 2:21-cv-06003-DOC (KESx)
13                                                  Hon. David O. Carter
                       Plaintiff,
14                                                  United States District Judge
           v.                       strict Judge
15                                                  Action filed: November 2, 2022
      ERIC MICHAEL GARCETTI, et al.
16
                                                    DEFENDANTS’ NOTICE OF
17                     Defendants.                  MOTION FOR SUMMARY
                                                    JUDGMENT
18
19
                                                    Date: May 12, 2025
20
                                                    Time: 8:30 a.m.
21                                                  Ctrm: 10A, Santa Ana
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            DEFENDANTS’ NOTICE OF MOTION FOR SUMMARY JUDGMENT
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 1         TO THE COURT AND TO ALL PARTIES AND THEIR RESPECTIVE
 2   ATTORNEYS OF RECORD:
 3         PLEASE TAKE NOTICE that on May 12, 2025, at 8:30 a.m., or as soon
 4   thereafter as the matter may be heard, in Courtroom 10A of the United States District
 5   Court, located at 411 W. 4th St., Santa Ana, CA 92701, defendants Eric Michael
 6   Garcetti, Paul Krekorian, Robert Blumenfield, Monica Rodriguez, Marqueece Harris-
 7   Dawson, John Lee, Mitch O’Farrell, Kevin De Leon, and Monique Contreras
 8   (collectively, “Defendants”) move for summary judgment of the remaining claims
 9   asserted by plaintiff David Jacobs (“Plaintiff”) in 2:22-cv-08010-DOC-KES, pursuant to
10   Federal Rule of Civil Procedure 56.
11         Defendants move for summary judgment as to Plaintiff’s remaining claims in his
12   Amended Complaint (ECF No. 41), specifically his claims under the Eighth
13   Amendment’s Excessive Fines clause and the Fourth Amendment’s unreasonable seizure
14   clause. Plaintiff has failed his burden to prove the elements of his claims, as he has
15   failed to conduct any discovery or produce any evidence in support of such despite
16   having adequate time to conduct discovery. Moreover, the evidence in this action shows
17   that Defendants did not violate Plaintiffs’ constitutional rights.
18         This motion is based upon this notice, the accompanying memorandum of points
19   and authorities, the pleadings and papers on file in this action, and oral and documentary
20   evidence that may be presented at the time of any hearing on this motion.
21         Defendants’ counsel unsuccessfully attempted to meet and confer pursuant to L.R.
22   7-3 between March 28, 2025, and April 7, 2025. (Declaration of Emerson H. Kim, ¶¶ 6-
23   9.)
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            DEFENDANTS’ NOTICE OF MOTION FOR SUMMARY JUDGMENT
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                                       #:820



 1   DATED: April 14, 2025             Respectfully submitted,

 2                                     HYDEE FELDSTEIN SOTO, City Attorney
 3                                     DENISE C. MILLS, Chief Deputy City Attorney
                                       KATHLEEN KENEALY, Chief Assistant City
 4                                     Attorney
 5                                     GABRIEL S. DERMER, Assistant City Attorney
                                       EMERSON H. KIM, Deputy City Attorney
 6
 7                                 By: /s/ Emerson H. Kim
                                       EMERSON H. KIM, Deputy City Attorney
 8                                     Attorney for Defendants
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            DEFENDANTS’ NOTICE OF MOTION FOR SUMMARY JUDGMENT
